 18-23538-rdd             Doc 626     Filed 11/09/18 Entered 11/09/18 15:37:01                    Main Document
                                                  Pg 1 of 25


   HERRICK, FEINSTEIN LLP
   Stephen B. Selbst
   2 Park Avenue
   New York, NY 10016
   Telephone: (212)592-1400
   Facsimile: (212) 592-1500
   sselbst@herrick.com

  Counsel to Ruby Red Garment Manufacturing S.A.E.

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

                                                                  )
                                                                  )   Chapter 11
   In re                                                          )
                                                                  )   Case No. 18-23538 (RDD)
   SEARS HOLDINGS CORPORATION, et al, i                           )
                                                                 )    (Jointly Administered)
                          Debtors.                               )
                                                                 )
                                                                 )

                                     NOTICE OF RECLAMATION CLAIM

                   PLEASE TAKE NOTICE that RubyRed Garment Manufacturing S.A.E. (“RubyRed”),

  by and through undersigned counsel, files this Notice of Reclamation Claim pursuant to 11 U.S.C.

  § 546(c), 11 U.C.C. § 2-702 and applicable non-bankruptcy law, on the above-captioned




  1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
 number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
 LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); A&E Factory
 Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden, LLC (5028); A&E Signature
 Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart Corporation (9500);
 MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears Holdings Management
 Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home Improvement Products, Inc.
 (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc. (2859); Sears Protection
 Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck Acceptance Corp. (0535); Sears,
Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC (None); Big Beaver of Florida
Development, LLC (None); California Builder Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133);
KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898);
Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands
Business Unit Corporation (4658); Sears Holdings Publishing Company, LLC. (5554); Sears Protection Company
(Florida), L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616); StarWest, LLC (5379); STI
Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C.
(4664); Sears Buying Services, Inc. (6533); Kmart.com LLC (9022); and Sears Brands Management Corporation
(5365). The location of the Debtors' corporate headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179
HF 12387671 v. 1
18-23538-rdd            Doc 626   Filed 11/09/18 Entered 11/09/18 15:37:01          Main Document
                                              Pg 2 of 25


     debtors and debtors-in-possession (collectively, the “Debtors”), to reclaim certain assets

    (the “Goods”) that are subject to reclamation. The Goods were sold in the ordinary course

    of business and received by Debtors in the forty-five (45) days prior to the filing of the

    Debtors' bankruptcy petition on October 15, 2018. RubyRed believes the Debtors were

    insolvent at the time they received delivery of the Goods. RubyRed incorporates by

   reference and attaches as Exhibit A, a copy of the written demand for reclamation (the

   “Reclamation Demand”) pursuant to 11 U.S.C. § 546(c).

                  PLEASE TAKE FURTHER NOTICE that RubyRed reserves all of its rights with

   respect to the Goods, including, without limitation, (a) its right to be paid in the ordinary course

   of business as a post-petition creditor of the Debtors to the extent the Goods were delivered to the

  Debtors on or after October 15, 2018; (b) its right to assert a 20-day administrative priority claim

  pursuant to 11 U.S.C. §503(b)(9); (c) its right to assert a “new value” defense to any preference

  demand pursuant to 11 U.S.C. §547(c)(4); (d) its right to demand payment of any portion of this

  invoice as a “cure” payment in connection with the Debtors' assumption of any executory contract,

 if any, pursuant to 11 U.S.C. § 365; (e) its right to seek payment of its prepetition invoices from

 any non-debtor parties that are co-obligors; (1) its right to file additional demands or claims,

 including without limitation, a proof of claim; and/or (g) its right to assert any other rights under

 applicable law. By filing this Notice, RubyRed does not consent to entry of final orders of the

 bankruptcy court on non-core issue and claims, does not waive any jurisdictional defenses, and

reserves its rights to amend this Notice.




                                                   2
HF 12387671V. 1
18-23538-rdd       Doc 626       Filed 11/09/18 Entered 11/09/18 15:37:01        Main Document
                                             Pg 3 of 25


       Dated: November 9, 2018                      Respectfully submitted,
              New York, NY
                                                    HERRICK, FEINSTEIN LLP


                                                    /s/ Stephen B. Selbst_____
                                                    Stephen B. Selbst
                                                    2 Park Avenue
                                                    New York, NY 10016
                                                    Telephone: (212) 592-1400
                                                    Facsimile: (212) 592-1 500
                                                    sselbst@herrick.com

                                                    Attorneys for RubyRed Garment
                                                    Manufacturing S.A.E.




                                                3
HF 12387671 v. 1
 18-23538-rdd     Doc 626   Filed 11/09/18 Entered 11/09/18 15:37:01   Main Document
                                        Pg 4 of 25



                                         Exhibit A

                                   Reclamation Demand




HF 12387671V. 1
 18-23538-rdd                 Doc 626             Filed 11/09/18 Entered 11/09/18 15:37:01        Main Document
                                                              Pg 5 of 25


                                                                                                 Stephen B. Selbst
                   HERRICK                                                                                     Partner
                                                                                                    Phone: 212.592.1405
                                                                                                      Fax: 212.545.2313
                                                                                                  sselbst@herrick.com




   November 9, 2018

  VIA FEDERAL EXPRESS

  Sears Holdings Management Corporation
  Attn: General Counsel
  3333 Beverly Road
  Hoffman Estates, IL 60179

  Re:         In re Sears Holding Corp., etal. (No. 18-23538) (Bankr. S.D.N.Y.) Reclamation Demand

  To Whom It May Concern

 We represent Ruby Red Garment Manufacturing S.A.E. (“RubyRed”), which hereby makes
 demand (the “Reclamation Demand”) to reclaim all goods the “Goods”) received by the Debtors
 within forty-five days of October 15, 2018 (the “Reclamation Period”) pursuant to Section 2-702
 of the Uniform Commercial Code and Section 546(c) of the United States Bankruptcy Code.
 Attached hereto as Exhibit 1 and incorporated by reference as if fully set forth herein is a list of
 invoices relating to the Goods, which have a value of at least $129,104.64.

 Please be advised that the Reclamation Demand does not constitute a demand for payment of
 the Debtors’ pre-petition indebtedness to RubyRed, nor is it in any fashion a violation of the
 automatic stay provided for in Section 362 of the Bankruptcy Code. It is intended to be the type
 of notice provided for in Section 546(c) of the Bankruptcy Code and does not waive any rights
 that RubyRed has under Section 503(b)(9) of the Bankruptcy Code.

 Very truly yours,
                 /
                                 M              (l
Stephen B. Selbst




SBS/jr

Enclosure




HERRICK, FElNSTEtN LLP o Two Park Avenue <■ New York, NY 10016 ■> Phone: 212.592.1400 « Fax: 212.592.1500


HF 12388032 v.1 #19528/0001 11/09/2018 03:02 A11P11
           18-23538-rdd                Doc 626            Filed 11/09/18 Entered 11/09/18 15:37:01                                     Main Document
                                                                      Pg 6 of 25
                                                                     COMMERCIAL INVOICE                                                                            Page 1 of 6
                                                                                                                                                  DATE: September 10, 2018
                                                                                                                                            INVOICE NO.: 201821861193
  2451                                                                               TO:             KMART CORPORATION
  RUBVRED GARMENT MANUFACTURING                                                                      3333 Beverly Road
  SAE
  4TH IND ZN, BLK14, PLOTS 1-2-13-14                                                                 Hoffman Estates, IL 60179

  FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                 US
  ALEXANDRIA

 Egypt
 23512                                                                               SHIPPED FROM: Damietta, Egypt                 SHIPPED TO:     Chambersburg , PA
                                                                                     MODE OF TRANSPORTATION: Ocean
                                                                                                                                                   FOB Egypt

                                                                                                          QUANTITY         QUANTITY                                     AMOUNT
           MARKS AND NUMBERS              DESCRIPTION OF GOODS                                        (CARTONS) |    (PER UNIT PRICE)            UNIT PRICE            (USS PER)

  KMART               ZC473                  3 PK TEE BLACK                                                     84                     84       38.100 USD         3,200.40 USD
                                                                                                          CARTONS                 AST                  AST
 ITEM:                310095043881
 MADE IN              EGYPT
 CONTENTS             1 ASSORTMENT
                                        "STYLE NO." GU8BE31010BG
                                        "STYLE DESCRIPTION" GIRLS 3 PK TEES " SET OF TEE & BOTTOM . NO POCKET
                                        BODY LENGTH- TEE REACHES TO WAIST , BOTTOM REACHES TO ANKLE
                                        COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY-" EGYPT -EGYPT
                                        FABRIC CONTENT - SINGLE JERSEY 60% COTTON 40%POLYESTER -170 GSM
                                        NUMBER OF STITCHES OF PER CM HORIZONTAL -11 & VERTICAL -15
                                        NON-REUSABLE HANGER CODE 3T136



              CONTRACT NO.               ZC473                   REFERENCE NO.         803
              DC CODE                    PCD                     DEPARTMENT NO.        049
              DIVISION NO.               Division 4              VENDOR NO.            2451
              VENDOR ITEM CODE          GU8BE31010BG             COUNTRY OF ORIGIN     EGYPT
              BINDING RULING# OR                                 CATEGORY              339
              PRECLASS #

              FACTORY NO.               104893
              RUBYRED GARMENT MANUFACTURING SAE
              4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
              PRIVATE FREE ZONE, BORG AL-ARAB
              ALEXANDRIA
              Egypt
              FTY MID NO.               EGRUBGAR1213ALE




KMART             ZC473                  3 PK TEE BLACK                                                        37                 37          38.100 USD         1,409.70 USD
                                                                                                      CARTONS                    AST                 AST
ITEM:             310095043972
MADE IN           EGYPT
CONTENTS          1 ASSORTMENT
                                     "STYLE NO." GU8BE31010BG
                                     "STYLE DESCRIPTION" GIRLS 3 PK TEES " SET OF TEE & BOTTOM , NO POCKET
                                     BODY LENGTH- TEE REACHES TO WAIST , BOTTOM REACHES TO ANKLE
                                     COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY - " EGYPT -EGYPT
                                     FABRIC CONTENT - SINGLE JERSEY 60% COTTON 40%POLYESTER -170 GSM
                                     NUMBER OF STITCHES OF PER CM HORIZONTAL -11 & VERTICAL -15
                                     NON-REUSABLE HANGER CODE 3T136



             CONTRACT NO.              ZC473                  REFERENCE NO.          803
             DC CODE                   PCD                    DEPARTMENT NO.         049
             DIVISION NO.              Division 4             VENDOR NO.             2451
            VENDOR ITEM CODE           GU8BE31010BG           COUNTRY OF ORIGIN      EGYPT
            BINDING RULING# OR                                CATEGORY               339
            PRECLASS #

            FACTORY NO.              104893
            RUBYRED GARMENT MANUFACTURING SAE
            4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
            PRIVATE FREE ZONE, BORG AL-ARAB
            ALEXANDRIA
           18-23538-rdd             Doc 626               Filed 11/09/18 Entered 11/09/18 15:37:01                                    Main Document
                                                                      Pg 7 of 25
                                                                    COMMERCIAL INVOICE                                                                          Page 2 of 6
                                                                                                                                                DATE: September 10, 2018
                                                                                                                                        INVOICE NO.: 201821861193
  2451                                                                              TO:             KMART CORPORATION
  RUBYRED GARMENT MANUFACTURING                                                                     3333 Beverly Road
  SAE
                                                                                                    Hoffman Estates, IL 60179
  4TH IND ZN, BLK14, PLOTS 1-2-13-14
  FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                US
  ALEXANDRIA

  Egypt
  23512                                                                             SHIPPED FROM: Damietta, Egypt                 SHIPPED TO:   Chambersburg , PA
                                                                                    MODE OF TRANSPORTATION: Ocean
                                                                                                                                                FOB Egypt

               Egypt
               FTYMIDNO.                  EGRUBGAR1213ALE




  KMART              ZC473                   3 PK TEE BLACK                                                   151                 151       38.100 USD          5,753.10 USD
                                                                                                         CARTONS                 AST                AST
 ITEM:               310095044160
 MADE IN             EGYPT
 CONTENTS            1 ASSORTMENT
                                         "STYLE NO." GU8BE31010BG
                                         "STYLE DESCRIPTION" GIRLS 3 PK TEES " SET OF TEE & BOTTOM , NO POCKET
                                         BODY LENGTH- TEE REACHES TO WAIST , BOTTOM REACHES TO ANKLE
                                         COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY -" EGYPT -EGYPT
                                         FABRIC CONTENT - SINGLE JERSEY 60% COTTON 40%POLYESTER -170 GSM
                                         NUMBER OF STITCHES OF PER CM HORIZONTAL -11 & VERTICAL -15
                                         NON-REUSABLE HANGER CODE 3T136



             CONTRACT NO.                ZC473                  REFERENCE NO.         803
             DC CODE                     PCD                    DEPARTMENT NO.        049
             DIVISION NO.                Division 4             VENDOR NO.            2451
             VENDOR ITEM CODE            GU8BE31010BG           COUNTRY OF ORIGIN     EGYPT
             BINDING RULING# OR                                 CATEGORY              339
             PRECLASS #

             FACTORY NO.                104893
             RUBYRED GARMENT MANUFACTURING SAE
             4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
             PRIVATE FREE ZONE, BORG AL-ARAB
             ALEXANDRIA
             Egypt
             FTY MID NO.                EGRUBGAR1213ALE




KMART            ZC473                   3 PK TEE JESTER RED                                                 105                 105       38,100 USD         4,000.50 USD
                                                                                                     CARTONS                    AST                AST
ITEM:            310095045076
MADE IN          EGYPT
CONTENTS         1 ASSORTMENT
                                    "STYLE NO." GU8BE31010BG
                                    "STYLE DESCRIPTION" GIRLS 3 PK TEES " SET OF TEE & BOTTOM , NO POCKET
                                    BODY LENGTH- TEE REACHES TO WAIST , BOTTOM REACHES TO ANKLE
                                    COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY         EGYPT -EGYPT
                                    FABRIC CONTENT - SINGLE JERSEY 60% COTTON 40%POLYESTER -170 GSM
                                    NUMBER OF STITCHES OF PER CM HORIZONTAL - 11 & VERTICAL -15
                                    NON-REUSABLE HANGER CODE 3T136



            CONTRACT NO.               ZC473                   REFERENCE NO.         803
            DC CODE                    PCD                     DEPARTMENT NO.        049
            DIVISION NO.               Division 4              VENDOR NO.            2451
            VENDOR ITEM CODE        GU8BE31010BG               COUNTRY OF ORIGIN     EGYPT
            BINDING RULING# OR                                 CATEGORY             339
            PRECLASS #

            FACTORY NO.             104893
           18-23538-rdd             Doc 626             Filed 11/09/18 Entered 11/09/18 15:37:01                                         Main Document
                                                                    Pg 8 of 25
                                                                      COMMERCIAL INVOICE                                                                           Page 3 of 6
                                                                                                                                                   DATE: September 10, 2018
                                                                                                                                             INVOICE NO.: 201821861193
  2451                                                                                TO:             KMART CORPORATION
  RUBYRED GARMENT MANUFACTURING                                                                       3333 Beverly Road
  SAE
  4TH INDZN, BLK14, PLOTS 1-2-13-14                                                                   Hoffman Estates, IL 60179
  FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                  US
  ALEXANDRIA

  Egypt
  23512                                                                               SHIPPED FROM: Damietta, Egypt                 SHIPPED TO:    Chambersburg , PA
                                                                                      MODE OF TRANSPORTATION: Ocean

                                                                                                                                                   FOB Egypt
               RUBYRED GARMENT MANUFACTURING SAE
               4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
               PRIVATE FREE ZONE, BORG AL-ARAB
               ALEXANDRIA
               Egypt
               FTY MID NO.              EGRUBGAR1213ALE




  KMART              ZC473                 3 PK TEE JESTER RED                                                  40                      40       38.100 USD       1,524.00 USD
                                                                                                        CARTONS                    AST                 AST
 ITEM:               310095045829
 MADE IN             EGYPT
 CONTENTS            1 ASSORTMENT
                                       "STYLE NO." GU8BE31010BG
                                       "STYLE DESCRIPTION" GIRLS 3 PK TEES " SET OF TEE & BOTTOM , NO POCKET
                                       BODY LENGTH- TEE REACHES TO WAIST , BOTTOM REACHES TO ANKLE
                                       COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY -" EGYPT -EGYPT
                                       FABRIC CONTENT - SINGLE JERSEY 60% COTTON 40%POLYESTER - 170 GSM
                                       NUMBER OF STITCHES OF PER CM HORIZONTAL -11 8 VERTICAL -15
                                       NON-REUSABLE HANGER CODE 3T136



             CONTRACT NO.              ZC473                      REFERENCE NO.        803
             DC CODE                   PCD                        DEPARTMENT NO.       049
             DIVISION NO.              Division 4                 VENDOR NO.           2451
             VENDOR ITEM CODE          GU8BE31010BG               COUNTRY OF ORIGIN    EGYPT
             BINDING RULING U OR                                  CATEGORY             339
             PRECLASS #

             FACTORY NO,               104893
             RUBYRED GARMENT MANUFACTURING SAE
             4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
             PRIVATE FREE ZONE, BORG AL-ARAB
             ALEXANDRIA
             Egypt
             FTY MID NO.               EGRUBGAR1213ALE




KMART            ZC473                 3 PK TEE JESTER RED                                                    180                  180         38.100 USD       6,858.00 USD
                                                                                                      CARTONS                     AST                AST
ITEM:            310095072005
MADE IN          EGYPT
CONTENTS         1 ASSORTMENT
                                    "STYLE NO." GU8BE31010BG
                                    "STYLE DESCRIPTION" GIRLS 3 PK TEES " SET OF TEE & BOTTOM , NO POCKET
                                    BODY LENGTH- TEE REACHES TO WAIST , BOTTOM REACHES TO ANKLE
                                    COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY         EGYPT -EGYPT
                                    FABRIC CONTENT - SINGLE JERSEY 60% COTTON 40%POLYESTER -170 GSM
                                    NUMBER OF STITCHES OF PER CM HORIZONTAL -11 & VERTICAL -15
                                    NON-REUSABLE HANGER CODE 3T136



            CONTRACT NO.             ZC473                       REFERENCE NO.        803
            DC CODE                  PCD                         DEPARTMENT NO.       049
            DIVISION NO.             Division 4                  VENDOR NO.           2451
            VENDOR ITEM CODE        GU8BE31010BG                 COUNTRY OF ORIGIN    EGYPT
            BINDING RULING # OR                                  CATEGORY             339
            PRECLASS #
           18-23538-rdd            Doc 626            Filed 11/09/18 Entered 11/09/18 15:37:01                                          Main Document
                                                                  Pg 9 of 25
                                                                      COMMERCIAL INVOICE                                                                          Page 4 of 6
                                                                                                                                                  DATE: September 10, 2018
                                                                                                                                          INVOICE NO.: 201821861193
   2451                                                                               TO:             KMART CORPORATION
  RUBYRED GARMENT MANUFACTURING
                                                                                                      3333 Beverly Road
  SAE
  4TH INDZN, BLK14, PLOTS 1-2-13-14                                                                   Hoffman Estates, IL 60179
  FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                  US
  ALEXANDRIA

  Egypt
  23512                                                                               SHIPPED FROM: Damietta, Egypt                 SHIPPED TO:   Chambersburg , PA
                                                                                      MODE OF TRANSPORTATION: Ocean

                                                                                                                                                  FOB Egypt
              FACTORY NO.                104893
              RUBYRED GARMENT MANUFACTURING SAE
              4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
              PRIVATE FREE ZONE, BORG AL-ARAB
              ALEXANDRIA
              Egypt
              FTY MID NO.               EGRUBGAR1213ALE




  KMART             ZC473                3 PK TEE MEDIEVAL BLUE                                                115                  115       38.100 USD         4,381.50 USD
                                                                                                        CARTONS                    AST                AST
 ITEM:              310095073755
 MADE IN            EGYPT
 CONTENTS           1 ASSORTMENT
                                       "STYLE NO." GU8BE31010BG
                                       "STYLE DESCRIPTION" GIRLS 3 PK TEES " SET OF TEE & BOTTOM , NO POCKET
                                       BODY LENGTH- TEE REACHES TO WAIST , BOTTOM REACHES TO ANKLE
                                       COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLYEGYPT -EGYPT
                                       FABRIC CONTENT - SINGLE JERSEY 60% COTTON 40%POLYESTER -170 GSM
                                       NUMBER OF STITCHES OF PER CM HORIZONTAL -11 & VERTICAL -15
                                       NON-REUSABLE HANGER CODE 3T136



            CONTRACT NO.               ZC473                      REFERENCE NO.        803
            DC CODE                    PCD                        DEPARTMENT NO.       049
            DIVISION NO.               Division 4                 VENDOR NO.           2451
            VENDOR ITEM CODE           GU8BE31010BG               COUNTRY OF ORIGIN    EGYPT
            BINDING RULING # OR                                   CATEGORY             339
            PRECLASS #

            FACTORY NO.                104893
            RUBYRED GARMENT MANUFACTURING SAE
            4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
            PRIVATE FREE ZONE, BORG AL-ARAB
            ALEXANDRIA
            Egypt
            FTY MID NO.             EGRUBGAR1213ALE




KMART           ZC473                  3 PK TEE MEDIEVAL BLUE                                                  18                  18       38.100 USD           685.80 USD
                                                                                                      CARTONS                     AST               AST
ITEM:           310095073813
MADE IN         EGYPT
CONTENTS       1 ASSORTMENT
                                   "STYLE NO." GU8BE31010BG
                                   "STYLE DESCRIPTION" GIRLS 3 PK TEES " SET OF TEE & BOTTOM , NO POCKET
                                   BODY LENGTH- TEE REACHES TO WAIST , BOTTOM REACHES TO ANKLE
                                   COUNTRY OF ORGIN FABRIC. CUTTING AND GARMENT ASSEM8LY -" EGYPT -EGYPT
                                   FABRIC CONTENT - SINGLE JERSEY 60% COTTON 40%POLYESTER -170 GSM
                                   NUMBER OF STITCHES OF PER CM HORIZONTAL -11 & VERTICAL -15
                                   NON-REUSABLE HANGER CODE 3T136
             18-23538-rdd                Doc 626            Filed 11/09/18 Entered 11/09/18 15:37:01                                           Main Document
                                                                        Pg 10 of 25
                                                                          COMMERCIAL INVOICE                                                                                 Page 5 of 6
                                                                                                                                                            DATE: September 10, 2018
                                                                                                                                                    INVOICE NO.: 201821861193
      2451                                                                                 TO:             KMART CORPORATION
      RUBYRED GARMENT MANUFACTURING                                                                        3333 Beverly Road
      SAE
      4TH INDZN, BLK14, PLOTS 1-2-13-14                                                                    Hoffman Estates, IL 60179

   FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                      US
   ALEXANDRIA

   Egypt
   23512                                                                                   SHIPPED FROM: Damietta, Egypt                      SHIPPED TO:   Chambersburg , PA
                                                                                           MODE OF TRANSPORTATION: Ocean

                                                                                                                                                            FOB Egypt
                   CONTRACT NO.              ZC473                     REFERENCE NO.          803
                   DC CODE                   PCD                       DEPARTMENT NO.        049
                   DIVISION NO.              Division 4                VENDOR NO.            2451
                   VENDOR ITEM CODE          GU8BE31010BG              COUNTRY OF ORIGIN     EGYPT
                   BINDING RULING# OR                                  CATEGORY              339
                   PRECLASS #

                   FACTORY NO.               104893
                   RUBYRED GARMENT MANUFACTURING SAE
                   4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
                   PRIVATE FREE ZONE, BORG AL-ARAB
                   ALEXANDRIA
                   Egypt
                   FTY MID NO.              EGRUBGAR1213ALE




  KMART                ZC473                 3 PK TEE MEDIEVAL BLUE                                                    91                     91       38.100 USD          3,467.10 USD
                                                                                                            CARTONS                      AST                   AST
  ITEM:                310095074555
  MADE IN              EGYPT
  CONTENTS             1 ASSORTMENT
                                           "STYLE NO." GU8BE31010BG
                                           "STYLE DESCRIPTION" GIRLS 3 PK TEES " SET OF TEE & BOTTOM , NO POCKET
                                           BODY LENGTH- TEE REACHES TO WAIST , BOTTOM REACHES TO ANKLE
                                           COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY -" EGYPT -EGYPT
                                           FABRIC CONTENT - SINGLE JERSEY 60% COTTON 40%POLYESTER -170 GSM
                                           NUMBER OF STITCHES OF PER CM HORIZONTAL -11 & VERTICAL -15
                                           NON-REUSABLE HANGER CODE 3T136



                  CONTRACT NO.             ZC473                      REFERENCE NO.         803
                  DC CODE                  PCD                        DEPARTMENT NO.        049
                  DIVISION NO.             Division 4                 VENDOR NO.            2451
                  VENDOR ITEM CODE         GU8BE31010BG               COUNTRY OF ORIGIN     EGYPT
                  BINDING RULING # OR                                 CATEGORY              339
                  PRECLASS #

                FACTORY NO.                104893
                RUBYRED GARMENT MANUFACTURING SAE
               4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
               PRIVATE FREE ZONE, BORG AL-ARAB
               ALEXANDRIA
               Egypt
               FTY MID NO.                EGRUBGAR1213ALE




PAYMENT TERM                Open Acct
ORDER PAYMENT TERMS
DRAWN UNDER                 OPEN ACCOUNT
LC#                         NO LC



                                                                                                          QUANTITY                QUANTITY
                                                                                                         (CARTONS)          (INVOICE UNITS)                          AMOUNT (US$)
I TOTAL INVOICE                                                                                                  821                   821 ASSORTMENTS                  31,280.10 USD

TOTAL US DOLLARS THIRTY-ONE THOUSAND TWO HUNDRED EIGHTY DOLLARS AND TEN CENTS ONLY.
         18-23538-rdd                   Doc 626             Filed 11/09/18 Entered 11/09/18 15:37:01                              Main Document
                                                                        Pg 11 of 25
                                                                            COMMERCIAL INVOICE                                                                 Page 6 of 6
                                                                                                                                               DATE: September 10, 2018
                                                                                                                                       INVOICE NO.: 201821861193
2451                                                                                 TO:             KMART CORPORATION
RUBYRED GARMENT MANUFACTURING
                                                                                                     3333 Beverly Road
SAE
4TH IND ZN, BLK14, PLOTS 1-2-13-14                                                                   Hoffman Estates, IL 60179
FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                   US
ALEXANDRIA

Egypt
23512                                                                                SHIPPED FROM: Damietta, Egypt               SHIPPED TO:   Chambersburg , PA
                                                                                     MODE OF TRANSPORTATION: Ocean

                                                                                                                                               FOB Egypt
We hereby certify that this shipment does not contain solid wood packing material.




RUBYRED GARMENT MANUFACTURING SAE

EMPLOYEE NAME
EMPLOYEE TITLE
            18-23538-rdd             Doc 626           Filed 11/09/18 Entered 11/09/18 15:37:01                                         Main Document
                                                                   Pg 12 of 25
                                                                    COMMERCIAL INVOICE                                                                             Page 1 of 8
                                                                                                                                                   DATE: September 03, 2018
                                                                                                                                             INVOICE NO.: 201821741234
  2451                                                                              TO:             KMART CORPORATION
  RUBYRED GARMENT MANUFACTURING                                                                     3333 Beverly Road
  SAE
  4TH INDZN, BLK14, PLOTS 1-2-13-14                                                                 Hoffman Estates, IL 60179

  FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                US
  ALEXANDRIA

  Egypt
  23512                                                                             SHIPPED FROM: Damietta, Egypt                   SHIPPED TO:    Chambersburg , PA
                                                                                    MODE OF TRANSPORTATION: Ocean
                                                                                                                                                   FOB Egypt

                                                                                                      QUANTITY               QUANTITY                                    AMOUNT
            MARKS AND NUMBERS            DESCRIPTION OF GOODS                                        (CARTONS)         (PER UNIT PRICE)          UNIT PRICE             (US$ PER)

  KMART               ZC47Q                PEACHED FRENCH TERRYMARITIME BLUE                                      11                    11       55.700 USD            612.70 USD
                                                                                                         CARTONS                   AST                  AST
  ITEM:               530010286946
  MADE IN             EGYPT
 CONTENTS             1 ASSORTMENT
                                       STYLE NO WF8BE53714MI
                                       STYLE DESCRIPTION PEACHED FRENCH TERRY LEGGING
                                        STYLE DESCRIPTION BASIC CAPRI LEGGING WITH ELASTIC AT WAIST BAND NO POCKET
                                       BODY LENGTH FROM WAIST TO ANKLE
                                       COUNTRY OF ORGIN FABRIC CUTTING AND GARMENT ASSEMBLY- EGYPT -EGYPT
                                       FABRIC CONTENT-KNITTING SOLID 94% COTTON 6%ELASTAIN
                                       NUMBER OF STITCHES OF PER CM HORIZONTAL - 22 AND VERTICAL - 31
                                       HANGER PACK - CODE 6012B WITH COST $ 0.107



               CONTRACT NO.            ZC47Q                    REFERENCE NO.         801
               DC CODE                 PCD                      DEPARTMENT NO,        027
               DIVISION NO.            Division 4               VENDOR NO.            2451
               VENDOR ITEM CODE        WF8BE53714MI             COUNTRY OF ORIGIN     EGYPT
               BINDING RULING# OR                               CATEGORY              RNONE, 348
               PRECLASS #

               FACTORY NO.             104893
              RUBYRED GARMENT MANUFACTURING SAE
              4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
              PRIVATE FREE ZONE, BORG AL-ARAB
              ALEXANDRIA
              Egypt
              FTY MID NO.              EGRUBGAR1213ALE




KMART             ZC47Q                 PEACHED FRENCH TERRYMARITIME BLUE                                    97                    97          50.130 USD       4,862.61 USD
                                                                                                    CARTONS                      AST                  AST
ITEM:             530010286953
MADE IN           EGYPT
CONTENTS          1 ASSORTMENT
                                     STYLE NO WF8BE53714MI
                                     STYLE DESCRIPTION PEACHED FRENCH TERRY LEGGING
                                     STYLE DESCRIPTION BASIC CAPRI LEGGING WITH ELASTIC AT WAIST BAND NO POCKET
                                     BODY LENGTH FROM WAIST TO ANKLE
                                     COUNTRY OF ORGIN FABRIC CUTTING AND GARMENT ASSEMBLY- EGYPT -EGYPT
                                     FABRIC CONTENT-KNITTING SOLID 94% COTTON 6%ELASTAIN
                                     NUMBER OF STITCHES OF PER CM HORIZONTAL - 22 AND VERTICAL - 31
                                     HANGER PACK - CODE 6012B WITH COST S 0.107



             CONTRACT NO.            ZC47Q                   REFERENCE NO.          801
             DC CODE                 PCD                     DEPARTMENT NO.         027
             DIVISION NO.            Division 4              VENDOR NO.             2451
             VENDOR ITEM CODE        WF8BE53714MI            COUNTRY OF ORIGIN      EGYPT
             BINDING RULING# OR                              CATEGORY               RNONE, 348
             PRECLASS #

             FACTORY NO.             104893
            18-23538-rdd             Doc 626           Filed 11/09/18 Entered 11/09/18 15:37:01                                        Main Document
                                                                   Pg 13 of 25
                                                                    COMMERCIAL INVOICE                                                                            Page 2 of 8
                                                                                                                                                  DATE: September 03, 2018
                                                                                                                                            INVOICE NO.: 201821741234
   2451                                                                              TO:             KMART CORPORATION
   RUBYRED GARMENT MANUFACTURING
                                                                                                     3333 Beverly Road
   SAE
   4TH IND ZN, BLK14, PLOTS 1-2-13-14                                                                Hoffman Estates, IL 60179
  FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                 US
  ALEXANDRIA

  Egypt
  23512                                                                              SHIPPED FROM: Damietta, Egypt                 SHIPPED TO:    Chambersburg , PA
                                                                                     MODE OF TRANSPORTATION: Ocean

                                                                                                                                                  FOB Egypt
                RUBYRED GARMENT MANUFACTURING SAE
               4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
               PRIVATE FREE ZONE. BORG AL-ARAB
               ALEXANDRIA
               Egypt
               FTY MID NO.               EGRUBGAR1213ALE




  KMART              ZC47Q                PEACHED FRENCH TERRYWINETASTING                                         11                   11      55.700 USD             612.70 USD
                                                                                                       CARTONS                    AST                 AST
  ITEM:              530010286979
  MADE IN            EGYPT
  CONTENTS           1 ASSORTMENT
                                        STYLE NO WF8BE53714MI
                                        STYLE DESCRIPTION PEACHED FRENCH TERRY LEGGING
                                         STYLE DESCRIPTION BASIC CAPRI LEGGING WTH ELASTIC AT WAIST BAND NO POCKET
                                        BODY LENGTH FROM WAIST TO ANKLE
                                        COUNTRY OF ORGIN FABRIC CUTTING AND GARMENT ASSEMBLY- EGYPT -EGYPT
                                        FABRIC CONTENT - KNITTING SOLID 94% COTTON 6%ELASTAIN
                                        NUMBER OF STITCHES OF PER CM HORIZONTAL - 22 AND VERTICAL - 31
                                        HANGER PACK - CODE 6012B WTH COST S 0.107



              CONTRACT NO.              ZC47Q                  REFERENCE NO.          801
              DC CODE                   PCD                    DEPARTMENT NO.         027
             DIVISION NO.               Division 4             VENDOR NO.             2451
             VENDOR ITEM CODE           WF8BE53714MI           COUNTRY OF ORIGIN      EGYPT
             BINDING RULING # OR                               CATEGORY               RNONE, 348
             PRECLASS #

             FACTORY NO,                104893
             RUBYRED GARMENT MANUFACTURING SAE
             4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
             PRIVATE FREE ZONE, BORG AL-ARAB
             ALEXANDRIA
             Egypt
             FTY MID NO.                EGRU8GAR1213ALE




KMART            ZC47Q                  PEACHED FRENCH TERRYWNETASTING                                      212                  212         44.560 USD        9,446.72 USD
                                                                                                     CARTONS                     AST                AST
ITEM:            530010287043
MADE IN          EGYPT
CONTENTS         1 ASSORTMENT
                                    STYLE NO WF8BE53714MI
                                    STYLE DESCRIPTION PEACHED FRENCH TERRY LEGGING
                                     STYLE DESCRIPTION BASIC CAPRI LEGGING WTH ELASTIC AT WAIST BAND NO POCKET
                                    BODY LENGTH FROM WAIST TO ANKLE
                                    COUNTRY OF ORGIN FABRIC CUTTING AND GARMENT ASSEMBLY- EGYPT -EGYPT
                                    FABRIC CONTENT - KNITTING SOLID 94% COTTON 6%ELASTAIN
                                    NUMBER OF STITCHES OF PER CM HORIZONTAL - 22 AND VERTICAL - 31
                                    HANGER PACK - CODE 6012B WTH COST S 0.107
            18-23538-rdd             Doc 626             Filed 11/09/18 Entered 11/09/18 15:37:01                                        Main Document
                                                                     Pg 14 of 25
                                                                    COMMERCIAL INVOICE                                                                                Page 3 of 8
                                                                                                                                                      DATE: September 03, 2018
                                                                                                                                              INVOICE NO.: 201821741234
   2451                                                                               TO:             KMART CORPORATION
   RUBYRED GARMENT MANUFACTURING
                                                                                                      3333 Beverly Road
   SAE
   4TH IND ZN, BLK14, PLOTS 1-2-13-14                                                                 Hoffman Estates, IL 60179
   FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                 US
   ALEXANDRIA

   Egypt
   23512                                                                              SHIPPED FROM: Damietta, Egypt                     SHIPPED TO:   Chambersburg , PA
                                                                                      MODE OF TRANSPORTATION: Ocean

                                                                                                                                                      FOB Egypt
                CONTRACT NO.              ZC47Q                  REFERENCE NO.           801
                DC CODE                   PCD                    DEPARTMENT NO.          027
                DIVISION NO.              Division 4             VENDOR NO.             2451
                VENDOR ITEM CODE          WF8BE53714MI           COUNTRY OF ORIGIN      EGYPT
                BINDING RULING# OR                               CATEGORY               RNONE, 348
                PRECLASS #

               FACTORY NO.                104893
               RUBYRED GARMENT MANUFACTURING SAE
               4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
               PRIVATE FREE ZONE, BORG AL-ARAB
               ALEXANDRIA
               Egypt
               FTY MID NO.               EGRUBGAR1213ALE




  KMART              ZC47Q                PEACHED FRENCH TERRYBLACK ONYX                                      238                   238          44,560 USD        10,605,28 USD
                                                                                                       CARTONS                     AST                   AST
  ITEM:              530098823511
  MADE IN            EGYPT
  CONTENTS           1 ASSORTMENT
                                        STYLE NO WF8BE53714MI
                                        STYLE DESCRIPTION PEACHED FRENCH TERRY LEGGING
                                         STYLE DESCRIPTION BASIC CAPRI LEGGING WITH ELASTIC AT WAIST BAND NO POCKET
                                        BODY LENGTH FROM WAIST TO ANKLE
                                        COUNTRY OF ORGIN FABRIC CUTTING AND GARMENT ASSEMBLY - EGYPT -EGYPT
                                        FABRIC CONTENT-KNITTING SOLID 94% COTTON 6%ELASTAIN
                                        NUMBER OF STITCHES OF PER CM HORIZONTAL - 22 AND VERTICAL - 31
                                        HANGER PACK - CODE 6012B WTH COST $ 0.107



             CONTRACT NO.               ZC47Q                  REFERENCE NO.           801
             DC CODE                    PCD                    DEPARTMENT NO.          027
             DIVISION NO.               Division 4             VENDOR NO.             2451
             VENDOR ITEM CODE           WF8BE53714MI           COUNTRY OF ORIGIN      EGYPT
             BINDING RULING # OR                               CATEGORY               RNONE, 348
             PRECLASS #

             FACTORY NO.                104893
             RUBYRED GARMENT MANUFACTURING SAE
             4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
             PRIVATE FREE ZONE, BORG AL-ARAB
             ALEXANDRIA

             Egypt
             FTY MID NO.              EGRUBGAR1213ALE




KMART            ZC47Q                  PEACHED FRENCH TERRYBLACK ONYX                                       145                   145         50.130 USD         7,268.85 USD
                                                                                                     CARTONS                      AST                  AST
ITEM:            530099067944
MADE IN          EGYPT
CONTENTS         1 ASSORTMENT
                                     STYLE NO WF8BE53714MI
                                     STYLE DESCRIPTION PEACHED FRENCH TERRY LEGGING
                                      STYLE DESCRIPTION BASIC CAPRI LEGGING WITH ELASTIC AT WAIST BAND NO POCKET
                                     BODY LENGTH FROM WAIST TO ANKLE
                                     COUNTRY OF ORGIN FABRIC CUTTING AND GARMENT ASSEMBLY - EGYPT -EGYPT
                                     FABRIC CONTENT-KNITTING SOLID 94% COTTON 6%ELASTAIN
           18-23538-rdd             Doc 626             Filed 11/09/18 Entered 11/09/18 15:37:01                                        Main Document
                                                                    Pg 15 of 25
                                                                    COMMERCIAL INVOICE                                                                               Page 4 of 8
                                                                                                                                                     DATE: September 03, 2018
                                                                                                                                             INVOICE NO.: 201821741234
   2451                                                                               TO:             KMART CORPORATION
   RUBYRED GARMENT MANUFACTURING
                                                                                                      3333 Beverly Road
   SAE
   4TH INDZN, BLK14, PLOTS 1-2-13-14                                                                  Hoffman Estates, 1160179
   FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                 US
   ALEXANDRIA

   Egypt
   23512                                                                              SHIPPED FROM: Damietta, Egypt                    SHIPPED TO:   Chambersburg , PA
                                                                                      MODE OF TRANSPORTATION: Ocean

                                                                                                                                                     FOB Egypt
                                         NUMBER OF STITCHES OF PER CM HORIZONTAL - 22 AND VERTICAL - 31
                                         HANGER PACK - CODE 6012B WITH COST $ 0.107



               CONTRACT NO.              ZC47Q                   REFERENCE NO.           801
               DC CODE                   PCD                     DEPARTMENT NO.         027
               DIVISION NO.              Division 4              VENDOR NO.             2451
              VENDOR ITEM CODE           WF8BE53714MI            COUNTRY OF ORIGIN      EGYPT
              BINDING RULING # OR                                CATEGORY               RNONE, 348
              PRECLASS #

              FACTORY NO.                104893
              RUBYRED GARMENT MANUFACTURING SAE
              4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
              PRIVATE FREE ZONE, BORG AL-ARAB
              ALEXANDRIA
              Egypt
              FTY MID NO.               EGRUBGAR1213ALE




  KMART             ZC47Q                PEACHED FRENCH TERRYBLACK ONYX                                        91                      91       38.990 USD         3,548.09 USD
                                                                                                       CARTONS                    AST                   AST
  ITEM:             530099067951
 MADE IN            EGYPT
 CONTENTS           1 ASSORTMENT
                                       STYLE NO WF8BE53714MI
                                       STYLE DESCRIPTION PEACHED FRENCH TERRY LEGGING
                                        STYLE DESCRIPTION BASIC CAPRI LEGGING WITH ELASTIC AT WAIST BAND NO POCKET
                                       BODY LENGTH FROM WAIST TO ANKLE
                                       COUNTRY OF ORGIN FABRIC CUTTING AND GARMENT ASSEMBLY - EGYPT -EGYPT
                                       FABRIC CONTENT - KNITTING SOLID 94% COTTON 6%ELASTAIN
                                       NUMBER OF STITCHES OF PER CM HORIZONTAL - 22 AND VERTICAL - 31
                                       HANGER PACK - CODE 6012B WTH COST $ 0.107



             CONTRACT NO.              ZC47Q                   REFERENCE NO.           801
             DC CODE                   PCD                     DEPARTMENT NO.          027
             DIVISION NO.              Division 4              VENDOR NO.              2451
            VENDOR ITEM CODE           WF8BE53714MI            COUNTRY OF ORIGIN       EGYPT
            BINDING RULING#OR                                  CATEGORY                RNONE, 348
            PRECLASS #

            FACTORY NO.                104893
            RUBYRED GARMENT MANUFACTURING SAE
            4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
            PRIVATE FREE ZONE, BORG AL-ARAB
            ALEXANDRIA
            Egypt
            FTY MID NO.             EGRUBGAR1213ALE




KMART           ZC47Q                   PEACHED FRENCH TERRYBLACK ONYX                                      176                   176         33.420 USD         5,881.92 USD
                                                                                                     CARTONS                     AST                  AST
ITEM:           530099067969
MADE IN         EGYPT
CONTENTS        1 ASSORTMENT
                                    STYLE NO WF8BE53714MI
          18-23538-rdd              Doc 626             Filed 11/09/18 Entered 11/09/18 15:37:01                                       Main Document
                                                                    Pg 16 of 25
                                                                    COMMERCIAL INVOICE                                                                           Page 5 of 8
                                                                                                                                                 DATE: September 03, 2018
                                                                                                                                         INVOICE NO,: 201821741234
  2451                                                                                TO:            KMART CORPORATION
  RUBYRED GARMENT MANUFACTURING
                                                                                                     3333 Beverly Road
  SAE
  4TH IND ZN, BLK14, PLOTS 1-2-13-14                                                                 Hoffman Estates, IL 60179
 FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                  US
 ALEXANDRIA

 Egypt
 23512                                                                               SHIPPED FROM: Damietta, Egypt                 SHIPPED TO:   Chambersburg , PA
                                                                                     MODE OF TRANSPORTATION: Ocean

                                                                                                                                                 FOB Egypt
                                         STYLE DESCRIPTION PEACHED FRENCH TERRY LEGGING
                                          STYLE DESCRIPTION BASIC CAPRI LEGGING WITH ELASTIC AT WAIST BAND NO POCKET
                                         BODY LENGTH FROM WAIST TO ANKLE
                                         COUNTRY OF ORGIN FABRIC CUTTING AND GARMENT ASSEMBLY- EGYPT -EGYPT
                                         FABRIC CONTENT - KNITTING SOLID 94% COTTON 6%ELASTAIN
                                         NUMBER OF STITCHES OF PER CM HORIZONTAL - 22 AND VERTICAL - 31
                                         HANGER PACK - CODE 6012B WITH COST $ 0.107



              CONTRACT NO.               ZC47Q                  REFERENCE NO.           801
              DC CODE                    PCD                    DEPARTMENT NO.          027
              DIVISION NO.               Division 4             VENDOR NO.              2451
             VENDOR ITEM CODE            WF8BE53714MI           COUNTRY OF ORIGIN      EGYPT
             BINDING RULING#OR                                  CATEGORY               RNONE. 348
             PRECLASS #

             FACTORY NO.                 104893
             RUBYRED GARMENT MANUFACTURING SAE
             4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
             PRIVATE FREE ZONE. BORG AL-ARAB
             ALEXANDRIA
             Egypt
             FTYMID NO.                 EGRUBGAR1213ALE




KMART              ZC47Q                 PEACHED FRENCH TERRYMARITIME BLUE                                   212                  212       44.560 USD         9,446.72 USD
                                                                                                      CARTONS                    AST                AST
ITEM:              530099068033
MADE IN            EGYPT
CONTENTS           1 ASSORTMENT
                                       STYLE NO WF8BE53714MI
                                       STYLE DESCRIPTION PEACHED FRENCH TERRY LEGGING
                                        STYLE DESCRIPTION BASIC CAPRI LEGGING WITH ELASTIC AT WAIST BAND NO POCKET
                                       BODY LENGTH FROM WAIST TO ANKLE
                                       COUNTRY OF ORGIN FABRIC CUTTING AND GARMENT ASSEMBLY- EGYPT -EGYPT
                                       FABRIC CONTENT-KNITTING SOLID 94% COTTON 6%ELASTAIN
                                       NUMBER OF STITCHES OF PER CM HORIZONTAL - 22 AND VERTICAL - 31
                                       HANGER PACK - CODE 6012B WITH COST S 0.107



           CONTRACT NO.                ZC47Q                  REFERENCE NO.           801
           DC CODE                     PCD                    DEPARTMENT NO.          027
           DIVISION NO.                Division 4             VENDOR NO.              2451
           VENDOR ITEM CODE            WF8BE53714MI           COUNTRY OF ORIGIN       EGYPT
           BINDING RULING# OR                                 CATEGORY                RNONE. 348
           PRECLASS #

           FACTORY NO.              104893
           RUBYRED GARMENT MANUFACTURING SAE
           4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
           PRIVATE FREE ZONE, BORG AL-ARAB
           ALEXANDRIA
           Egypt
           FTY MID NO.              EGRUBGAR1213ALE
            18-23538-rdd             Doc 626           Filed 11/09/18 Entered 11/09/18 15:37:01                                       Main Document
                                                                   Pg 17 of 25
                                                                   COMMERCIAL INVOICE                                                                            Page 6 of 8
                                                                                                                                                 DATE: September 03, 2018
                                                                                                                                        INVOICE NO.: 201821741234
  2451                                                                              TO:             KMART CORPORATION
  RUBYRED GARMENT MANUFACTURING                                                                     3333 Beverly Road
  SAE
  4TH IND ZN, BLK14, PLOTS 1-2-13-14                                                                Hoffman Estates, IL 60179
  FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                US
  ALEXANDRIA

  Egypt
  23512                                                                             SHIPPED FROM: Damietta, Egypt                 SHIPPED TO:    Chambersburg , PA
                                                                                    MODE OF TRANSPORTATION: Ocean
                                                                                                                                                  FOB Egypt

  KMART               ZC47Q                PEACHED FRENCH TERRYMARITIME BLUE                                  159                 159           33.420 USD       5,313.78 USD
                                                                                                         CARTONS                 AST                  AST
  ITEM:               530099068058
  MADE IN             EGYPT
  CONTENTS            1 ASSORTMENT
                                       STYLE NO WF8BE53714MI
                                       STYLE DESCRIPTION PEACHED FRENCH TERRY LEGGING
                                        STYLE DESCRIPTION BASIC CAPRI LEGGING WITH ELASTIC AT WAIST BAND NO POCKET
                                       BODY LENGTH FROM WAIST TO ANKLE
                                       COUNTRY OF ORGIN FABRIC CUTTING AND GARMENT ASSEMBLY- EGYPT -EGYPT
                                       FABRIC CONTENT - KNITTING SOLID 94% COTTON 6%ELASTAIN
                                       NUMBER OF STITCHES OF PER CM HORIZONTAL - 22 AND VERTICAL - 31
                                       HANGER PACK - CODE 6012B WITH COST $ 0.107



               CONTRACT NO.            ZC47Q                   REFERENCE NO.          801
               DC CODE                 PCD                     DEPARTMENT NO.         027
               DIVISION NO.            Division 4              VENDOR NO.             2451
              VENDOR ITEM CODE         WF8BE53714MI            COUNTRY OF ORIGIN      EGYPT
              BINDING RULING# OR                               CATEGORY               RNONE, 348
              PRECLASS #

              FACTORY NO.              104893
              RUBYRED GARMENT MANUFACTURING SAE
              4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
              PRIVATE FREE ZONE, BORG AL-ARAB
              ALEXANDRIA
              Egypt
              FTY MID NO.              EGRUBGAR1213ALE




KMART             ZC47Q                 PEACHED FRENCH TERRYWINETASTING                                      97                  97        50.130 USD          4,862.61 USD
                                                                                                     CARTONS                    AST                 AST
ITEM:             530099068207
MADE IN           EGYPT
CONTENTS          1 ASSORTMENT
                                     STYLE NO WF8BE53714MI
                                     STYLE DESCRIPTION PEACHED FRENCH TERRY LEGGING
                                      STYLE DESCRIPTION BASIC CAPRI LEGGING WITH ELASTIC AT WAIST BAND NO POCKET
                                     BODY LENGTH FROM WAIST TO ANKLE
                                     COUNTRY OF ORGIN FABRIC CUTTING AND GARMENT ASSEMBLY- EGYPT -EGYPT
                                     FABRIC CONTENT-KNITTING SOLID 94% COTTON 6%ELASTAIN
                                     NUMBER OF STITCHES OF PER CM HORIZONTAL - 22 AND VERTICAL - 31
                                     HANGER PACK - CODE 6012B WITH COST $ 0.107



             CONTRACT NO.            ZC47Q                   REFERENCE NO.          801
             DC CODE                 PCD                     DEPARTMENT NO.         027
             DIVISION NO.            Division 4              VENDOR NO.             2451
             VENDOR ITEM CODE        WF8BE53714MI            COUNTRY OF ORIGIN      EGYPT
             BINDING RULING # OR                             CATEGORY               RNONE, 348
             PRECLASS#

             FACTORY NO.             104893
            RUBYRED GARMENT MANUFACTURING SAE
            4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
            PRIVATE FREE ZONE, BORG AL-ARAB
            ALEXANDRIA
             18-23538-rdd                  Doc 626              Filed 11/09/18 Entered 11/09/18 15:37:01                                            Main Document
                                                                            Pg 18 of 25
                                                                                COMMERCIAL INVOICE                                                                                Page 7 of 8
                                                                                                                                                                 DATE: September 03, 2018
                                                                                                                                                         INVOICE NO.: 201821741234
    2451                                                                                      TO:             KMART CORPORATION
    RUBYRED GARMENT MANUFACTURING
    SAE                                                                                                       3333 Beverly Road
    4TH IND ZN, BLK14, PLOTS 1-2-13-14                                                                        Hoffman Estates, II 60179
    FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                        US
    ALEXANDRIA

    Egypt
    23512                                                                                     SHIPPED FROM: Damietta, Egypt                        SHIPPED TO:   Chambersburg , PA
                                                                                              MODE OF TRANSPORTATION: Ocean

                                                                                                                                                                 FOB Egypt
                   Egypt
                   FTY MID NO.                  EGRUBGAR1213ALE




    KMART               ZC47Q                    PEACHED FRENCH TERRYWINETASTING                                           159                     159       33.420 USD          5,313.78 USD
                                                                                                                CARTONS                        AST                   AST
   ITEM:                530099068256
   MADE IN              EGYPT
   CONTENTS             1 ASSORTMENT
                                              STYLE NO WF8BE53714MI
                                              STYLE DESCRIPTION PEACHED FRENCH TERRY LEGGING
                                               STYLE DESCRIPTION BASIC CAPRI LEGGING WITH ELASTIC AT WAIST BAND NO POCKET
                                              BODY LENGTH FROM WAIST TO ANKLE
                                              COUNTRY OF ORGIN FABRIC CUTTING AND GARMENT ASSEMBLY - EGYPT -EGYPT
                                              FABRIC CONTENT-KNITTING SOLID 94% COTTON 6%ELASTAIN
                                              NUMBER OF STITCHES OF PER CM HORIZONTAL - 22 AND VERTICAL - 31
                                              HANGER PACK - CODE 6012B WTH COST $ 0,107



                 CONTRACT NO.                 ZC47Q                        REFERENCE NO.       801
                 DC CODE                      PCD                          DEPARTMENT NO.      027
                 DIVISION NO.                 Division 4                  VENDOR NO.           2451
                 VENDOR ITEM CODE             WF8BE53714MI                COUNTRY OF ORIGIN    EGYPT
                 BINDING RULING # OR                                      CATEGORY             RNONE, 348
                 PRECLASS V

                 FACTORY NO.                 104893
                 RUBYRED GARMENT MANUFACTURING SAE
                4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
                PRIVATE FREE ZONE, BORG AL-ARAB
                ALEXANDRIA
                Egypt
                FTY MID NO.                  EGRUBGAR1213ALE




 PAYMENT TERM                 Open Acct
 ORDER PAYMENT TERMS
DRAWN UNDER                 OPEN ACCOUNT




                                                                                                             QUANTITY                  QUANTITY
                                                                                                            (CARTONS)            (INVOICE UNITS)
                                                                                                                                                                           AMOUNT (USS)
TOTAL INVOICE
                                                                                                                   1,608                   1,608 ASSORTMENTS                 67,775.76 USD
TOTAL US DOLLARS SIXTY-SEVEN THOUSAND SEVEN HUNDRED SEVENTY-FIVE DOLLARS AND SEVENTY-SIX CENTS
                                                                                               ONLY.


We hereby certify that this shipment does not contain solid wood packing material.
        18-23538-rdd            Doc 626   Filed 11/09/18 Entered 11/09/18 15:37:01                      Main Document
                                                      Pg 19 of 25
                                                 COMMERCIAL INVOICE                                                                  Page 8 of 8
                                                                                                                     DATE: September 03, 2018
                                                                                                             INVOICE NO.: 201821741234
2451                                                       TO:             KMART CORPORATION
RUBYRED GARMENT MANUFACTURING                                              3333 Beverly Road
SAE
4TH INDZN, BLK14, PLOTS 1-2-13-14                                          Hoffman Estates, IL 60179
FREE ZONE, AL AMRYA . BORG AL-ARAB                                         US
ALEXANDRIA

Egypt
23512                                                      SHIPPED FROM: Damietta, Egypt               SHIPPED TO:   Chambersburg , PA
                                                           MODE OF TRANSPORTATION: Ocean

                                                                                                                     FOB Egypt
RUBYRED GARMENT MANUFACTURING SAE

EMPLOYEE NAME
EMPLOYEE TITLE
            18-23538-rdd             Doc 626          Filed 11/09/18 Entered 11/09/18 15:37:01                                          Main Document
                                                                  Pg 20 of 25
                                                                     COMMERCIAL INVOICE                                                                            Page 1 of 6
                                                                                                                                                   DATE: September 02, 2018
                                                                                                                                             INVOICE NO.: 201821741030
   3024                                                                              TO:             SEARS ROEBUCK & CO
   RUBYRED GARMENT MANUFACTURING                                                                     3333 Beverly Road
  SAE
  4TH IND ZN, BLK14, PLOTS 1-2-13-14                                                                 Hoffman Estates, IL 60179
  FREE ZONE. Al AMRYA , BORG AL-ARAB                                                                 US
  ALEXANDRIA

  Egypt
  23512                                                                              SHIPPED FROM: Damietta, Egypt                  SHIPPED TO:    Chambersburg , PA
                                                                                     MODE OF TRANSPORTATION: Ocean

                                                                                                                                                   FOB Egypt

                                                                                                       QUANTITY              QUANTITY                                   AMOUNT
            MARKS AND NUMBERS            DESCRIPTION OF GOODS                                         (CARTONS) |      (PER UNIT PRICE)          UNIT PRICE            (US$ PER)
  SEARS               SJ8552              YD FLEECE BLACK ONYX                                                    33                    33       55.020 USD        1,815.66 USD
                                                                                                       CARTONS                     AST                  AST
  ITEM:               190099157521
  MADE IN             EGYPT
  CONTENTS            1 ASSORTMENT
  SEARS DIV           607
 SEARS ITEM/SKU 61832/
                                       STYLE NO WH8LS78415MI
                                       STYLE DESCRIPTION YD FLEECE ZIP MOCK
                                       STYLE DESCRIPTION YD FLEECE ZIP MOCK PULLOVER WITH ZIPPER
                                       WITH LONG SLEEVE , NO POCKET, NO ELASTIC
                                       BODY LENGTH REACHES TO WAIST
                                       COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY EGYPT EGYPT
                                       FABRIC CONTENT - YARN DYED POLAR FLEECE 100 % POLYESTER 280 GSM .
                                       NUMBER OF STITCHES OF PER CM HORIZONTAL 22 8 VERTICAL 31
                                       HANGER PACK CODE 3328B WITH COST $ 0.105



              CONTRACT NO.             SJ8552                    REFERENCE NO.        801
              DC CODE                  PCD                       DEPARTMENT NO.       007
              DIVISION NO.             Division 4                VENDOR NO.           3024
              VENDOR ITEM CODE         WH8LS78415MI              COUNTRY OF ORIGIN    EGYPT
              BINDING RULING# OR                                 CATEGORY             639, RNONE
              PRECLASS #

              FACTORY NO.              104893
              RUBYRED GARMENT MANUFACTURING SAE
              4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
              PRIVATE FREE ZONE, BORG AL-ARAB
              ALEXANDRIA
              Egypt
              FTY MID NO.             EGRUBGAR1213ALE




SEARS             SJ8552               YD FLEECE BLACK ONYX                                                  54                    54         70.740 USD        3,819.96 USD
                                                                                                     CARTONS                     AST                 AST
ITEM:             190099157539
MADE IN          EGYPT
CONTENTS         1 ASSORTMENT
SEARS DIV        607
SEARS ITEM/SKU 61832/
                                     STYLE NO WH8LS78415MI
                                     STYLE DESCRIPTION YD FLEECE ZIP MOCK
                                     STYLE DESCRIPTION YD FLEECE ZIP MOCK PULLOVER WTH ZIPPER
                                     WTH LONG SLEEVE , NO POCKET, NO ELASTIC
                                     BODY LENGTH REACHES TO WAIST
                                     COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY EGYPT EGYPT
                                     FABRIC CONTENT - YARN DYED POUR FLEECE 100 % POLYESTER 280 GSM ,
                                     NUMBER OF STITCHES OF PER CM HORIZONTAL 22 8 VERTICAL 31
                                     HANGER PACK CODE 3328B WITH COST $ 0.105
            18-23538-rdd              Doc 626             Filed 11/09/18 Entered 11/09/18 15:37:01                                          Main Document
                                                                      Pg 21 of 25
                                                                        COMMERCIAL INVOICE                                                                               Page 2 of 6
                                                                                                                                                         DATE: September 02, 2018
                                                                                                                                                 INVOICE NO.: 201821741030
    3024                                                                                 TO:             SEARS ROEBUCK & CO.
    RUBYRED GARMENT MANUFACTURING
                                                                                                         3333 Beverly Road
    SAE
    4TH IND ZN, BLK14, PLOTS 1-2-13-14                                                                   Hoffman Estates, IL 60179
   FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                    US
   ALEXANDRIA

   Egypt
   23512                                                                                 SHIPPED FROM: Damietta, Egypt                     SHIPPED TO:   Chambersburg , PA
                                                                                         MODE OF TRANSPORTATION: Ocean

                                                                                                                                                         FOB Egypt
                 CONTRACT NO.               SJ8552                   REFERENCE NO.          801
                 DC CODE                    PCD                      DEPARTMENT NO.        007
                 DIVISION NO.               Division 4               VENDOR NO.            3024
                 VENDOR ITEM CODE          WH8LS78415MI              COUNTRY OF ORIGIN     EGYPT
                 BINDING RULING#OR                                   CATEGORY              639, RNONE
                 PRECLASS #

                 FACTORY NO.               104893
                 RUBYRED GARMENT MANUFACTURING SAE
                4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
                PRIVATE FREE ZONE, BORG AL-ARAB
                ALEXANDRIA
                Egypt
                FTY MID NO.                EGRUBGAR1213ALE




  SEARS               SJ8552                YD FLEECE WINTER BLOOM                                                   66                    66       55.020 USD         3,631.32 USD
                                                                                                          CARTONS                     AST                   AST
  ITEM:               190099157588
  MADE IN             EGYPT
  CONTENTS            1 ASSORTMENT
  SEARS DIV           607
 SEARS ITEM/SKU 61834/
                                         STYLE NO WH8LS78415MI
                                         STYLE DESCRIPTION YD FLEECE ZIP MOCK
                                         STYLE DESCRIPTION YD FLEECE ZIP MOCK PULLOVER WITH ZIPPER
                                         WITH LONG SLEEVE , NO POCKET. NO ELASTIC
                                         BODY LENGTH REACHES TO WAIST
                                         COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY EGYPT EGYPT
                                         FABRIC CONTENT - YARN DYED POLAR FLEECE 100 % POLYESTER 280 GSM .
                                         NUMBER OF STITCHES OF PER CM HORIZONTAL 22 & VERTICAL 31
                                         HANGER PACK CODE 3328B WITH COST $ 0.105



              CONTRACT NO.               SJ8552                   REFERENCE NO.          801
              DC CODE                    PCD                      DEPARTMENT NO.         007
              DIVISION NO.               Division 4             VENDOR NO.               3024
              VENDOR ITEM CODE           WH8LS78415MI           COUNTRY OF ORIGIN        EGYPT
              BINDING RULING# OR                                CATEGORY                 639, RNONE
              PRECLASS #

              FACTORY NO.                104893
              RUBYRED GARMENT MANUFACTURING SAE
              4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
              PRIVATE FREE ZONE, BORG AL-ARAB
              ALEXANDRIA

              Egypt
              FTY MID NO.             EGRUBGAR1213ALE




SEARS             SJ8552                 YD FLEECE WINTER BLOOM                                                 54                    54          70.740 USD         3,819.96 USD
                                                                                                        CARTONS                      AST                  AST
ITEM:             190099157596
MADE IN           EGYPT
CONTENTS         1 ASSORTMENT
SEARS DIV        607
            18-23538-rdd             Doc 626           Filed 11/09/18 Entered 11/09/18 15:37:01                                     Main Document
                                                                   Pg 22 of 25
                                                                  COMMERCIAL INVOICE                                                                          Page 3 of 6
                                                                                                                                              DATE: September 02, 2018
                                                                                                                                      INVOICE NO.: 201821741030
  3024                                                                            TO:             SEARS ROEBUCK & CO,
  RUBYRED GARMENT MANUFACTURING                                                                   3333 Beverly Road
  SAE
  4TH INDZN, BLK14, PLOTS 1-2-13-14                                                               Hoffman Estates, IL 60179
  FREE ZONE, AL AMRYA , BORG AL-ARAB                                                              US
  ALEXANDRIA

  Egypt
  23512                                                                           SHIPPED FROM: Damietta, Egypt                 SHIPPED TO:   Chambersburg , PA
                                                                                  MODE OF TRANSPORTATION: Ocean

                                                                                                                                              FOB Egypt
  SEARS ITEM/SKU |61834/
                                        STYLE NO WH8LS78415MI
                                        STYLE DESCRIPTION YD FLEECE ZIP MOCK
                                        STYLE DESCRIPTION YD FLEECE ZIP MOCK PULLOVER WITH ZIPPER
                                        WITH LONG SLEEVE , NO POCKET, NO ELASTIC
                                        BODY LENGTH REACHES TO WAIST
                                        COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY EGYPT EGYPT
                                        FABRIC CONTENT - YARN DYED POLAR FLEECE 100 % POLYESTER 280 GSM ,
                                        NUMBER OF STITCHES OF PER CM HORIZONTAL 22 & VERTICAL 31
                                        HANGER PACK CODE 3328B WITH COST $ 0.105



               CONTRACT NO.             SJ8552                REFERENCE NO.         801
               DC CODE                  PCD                   DEPARTMENT NO.        007
               DIVISION NO.             Division 4            VENDOR NO.            3024
               VENDOR ITEM CODE         WH8LS78415MI          COUNTRY OF ORIGIN     EGYPT
               BINDING RULING# OR                            CATEGORY               639, RNONE
               PRECLASS #

               FACTORY NO.             104893
               RUBYRED GARMENT MANUFACTURING SAE
              4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
              PRIVATE FREE ZONE, BORG AL-ARAB
              ALEXANDRIA
              Egypt
              FTY MID NO.              EGRUBGAR1213ALE




SEARS               SJ8552              YD FLEECE QUAIL                                                    43                  43        62,880 USD         2,703.84 USD
                                                                                                   CARTONS                    AST                AST
ITEM:               190099157646
MADE IN             EGYPT
CONTENTS            1 ASSORTMENT
SEARS DIV           607
SEARS ITEM/SKU 61840/
                                     STYLE NO WH8LS78415MI
                                     STYLE DESCRIPTION YD FLEECE ZIP MOCK
                                     STYLE DESCRIPTION YD FLEECE ZIP MOCK PULLOVER WITH ZIPPER
                                     WITH LONG SLEEVE , NO POCKET, NO ELASTIC
                                     BODY LENGTH REACHES TO WAIST
                                     COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY EGYPT EGYPT
                                     FABRIC CONTENT - YARN DYED POLAR FLEECE 100 % POLYESTER 280 GSM ,
                                     NUMBER OF STITCHES OF PER CM HORIZONTAL 22 & VERTICAL 31
                                     HANGER PACK CODE 3328B WITH COST $ 0.105



             CONTRACT NO.            SJ8552                 REFERENCE NO.         801
             DC CODE                 PCD                    DEPARTMENT NO.        007
             DIVISION NO.            Division 4             VENDOR NO.            3024
            VENDOR ITEM CODE         WH8LS78415MI           COUNTRY OF ORIGIN     EGYPT
            BINDING RULING# OR                             CATEGORY               639, RNONE
            PRECLASS #

            FACTORY NO.              104893
            RUBYRED GARMENT MANUFACTURING SAE
            4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
            PRIVATE FREE ZONE, BORG AL-ARAB
            ALEXANDRIA

            Egypt
            FTY MID NO.             EGRUBGAR1213ALE
            18-23538-rdd             Doc 626            Filed 11/09/18 Entered 11/09/18 15:37:01                                    Main Document
                                                                    Pg 23 of 25
                                                                  COMMERCIAL INVOICE                                                                          Page 4 of 6
                                                                                                                                              DATE: September 02, 2018
                                                                                                                                      INVOICE NO.: 201821741030
  3024                                                                            TO:             SEARS ROEBUCK & CO.
  RUBYRED GARMENT MANUFACTURING                                                                   3333 Beverly Road
  SAE
  4TH INDZN, BLK14, PLOTS 1-2-13-14                                                               Hoffman Estates, IL 60179
  FREE ZONE, AL AMRYA , BORG AL-ARAB                                                              US
  ALEXANDRIA

  Egypt
  23512                                                                           SHIPPED FROM: Damietta. Egypt                 SHIPPED TO:   Chambersburg , PA
                                                                                  MODE OF TRANSPORTATION; Ocean

                                                                                                                                              FOB Egypt

  SEARS               SJ8552               YD FLEECE QUAIL                                                  110                 110       55020 USD           6,052.20 USD
                                                                                                       CARTONS                 AST                 AST
  ITEM:               190099157653
  MADE IN             EGYPT
  CONTENTS            1 ASSORTMENT
 SEARS DIV            607
 SEARS ITEM/S KU 61840/
                                       STYLE NO WH8LS78415MI
                                       STYLE DESCRIPTION YD FLEECE ZIP MOCK
                                       STYLE DESCRIPTION YD FLEECE ZIP MOCK PULLOVER WITH ZIPPER
                                       WITH LONG SLEEVE , NO POCKET, NO ELASTIC
                                       BODY LENGTH REACHES TO WAIST
                                       COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY EGYPT EGYPT
                                       FABRIC CONTENT - YARN DYED POLAR FLEECE 100 % POLYESTER 280 GSM
                                       NUMBER OF STITCHES OF PER CM HORIZONTAL 22 8 VERTICAL 31
                                       HANGER PACK CODE 3328B WITH COST S 0.105



               CONTRACT NO,            SJ8552                 REFERENCE NO.         801
               DC CODE                 PCD                    DEPARTMENT NO.        007
               DIVISION NO.            Division 4             VENDOR NO.           3024
              VENDOR ITEM CODE         WH8LS78415MI           COUNTRY OF ORIGIN    EGYPT
              BINDING RULING# OR                              CATEGORY             639, RNONE
              PRECLASS #

              FACTORY NO.              104893
              RUBYRED GARMENT MANUFACTURING SAE
              4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
              PRIVATE FREE ZONE, BORG AL-ARAB
              ALEXANDRIA
              Egypt
              FTY MID NO.              EGRU8GAR1213ALE




SEARS             SJ8552               YD FLEECE LYON                                                      43                  43       62.880 USD          2,703.84 USD
                                                                                                   CARTONS                    AST               AST
ITEM:             190099157703
MADE IN           EGYPT
CONTENTS          1 ASSORTMENT
SEARS DIV         607
SEARS ITEM/SKU 61841/
                                     STYLE NO WH8LS78415MI
                                     STYLE DESCRIPTION YD FLEECE ZIP MOCK
                                     STYLE DESCRIPTION YD FLEECE ZIP MOCK PULLOVER WITH ZIPPER
                                     WITH LONG SLEEVE , NO POCKET, NO ELASTIC
                                     BODY LENGTH REACHES TO WAIST
                                     COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY EGYPT EGYPT
                                     FABRIC CONTENT - YARN DYED POLAR FLEECE 100 % POLYESTER 280 GSM .
                                     NUMBER OF STITCHES OF PER CM HORIZONTAL 22 & VERTICAL 31
                                     HANGER PACK CODE 3328B WITH COST S 0.105



             CONTRACT NO.            SJ8552                  REFERENCE NO.        801
             DC CODE                 PCD                     DEPARTMENT NO.       007
             DIVISION NO.            Division 4              VENDOR NO.           3024
             VENDOR ITEM CODE        WH8LS78415MI            COUNTRY OF ORIGIN    EGYPT
             BINDING RULING#OR                               CATEGORY             639, RNONE
             PRECLASS #

             FACTORY NO.             104893
             18-23538-rdd                   Doc 626             Filed 11/09/18 Entered 11/09/18 15:37:01                                        Main Document
                                                                            Pg 24 of 25
                                                                               COMMERCIAL INVOICE                                                                         Page 5 of 6
                                                                                                                                                          DATE: September 02, 2018
                                                                                                                                                  INVOICE NO.: 201821741030
    3024                                                                                      TO:             SEARS ROEBUCK & CO.
    RUBYRED GARMENT MANUFACTURING                                                                             3333 Beverly Road
    SAE
    4TH IND ZN, BLK14, PLOTS 1-2-13-14                                                                        Hoffman Estates, IL 60179
    FREE ZONE, AL AMRYA , BORG AL-ARAB                                                                        US
    ALEXANDRIA

    Egypt
    23512                                                                                     SHIPPED FROM: Damietta, Egypt                 SHIPPED TO:   Chambersburg , PA
                                                                                              MODE OF TRANSPORTATION: Ocean

                                                                                                                                                          FOB Egypt
                   RUBYRED GARMENT MANUFACTURING SAE
                  4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
                  PRIVATE FREE ZONE, BORG AL-ARAB
                  ALEXANDRIA
                  Egypt
                  FTY MID NO.                  EGRUBGAR1213ALE




   SEARS                SJ8552                  YD FLEECE LYON                                                         100                  100       55.020 USD         5,502.00 USD
                                                                                                                CARTONS                    AST                AST
   ITEM:                190099157711
   MADE IN              EGYPT
   CONTENTS             1 ASSORTMENT
   SEARS DIV            607
   SEARS ITEM/SKU 61841/
                                             STYLE NO WH8LS78415MI
                                             STYLE DESCRIPTION YD FLEECE ZIP MOCK
                                             STYLE DESCRIPTION YD FLEECE ZIP MOCK PULLOVER WITH ZIPPER
                                             WITH LONG SLEEVE , NO POCKET, NO ELASTIC
                                             BODY LENGTH REACHES TO WAIST
                                             COUNTRY OF ORGIN FABRIC, CUTTING AND GARMENT ASSEMBLY EGYPT EGYPT
                                             FABRIC CONTENT - YARN DYED POLAR FLEECE 100 % POLYESTER 280 GSM .
                                             NUMBER OF STITCHES OF PER CM HORIZONTAL 22 & VERTICAL 31
                                             HANGER PACK CODE 3328B WITH COST S 0.105



                 CONTRACT NO.                SJ8552                       REFERENCE NO.        801
                 DC CODE                     PCD                          DEPARTMENT NO.       007
                 DIVISION NO.                Division 4                   VENDOR NO.           3024
                 VENDOR ITEM CODE            WH8LS78415MI                 COUNTRY OF ORIGIN    EGYPT
                 BINDING RULING# OR                                       CATEGORY             639, RNONE
                 PRECLASS#

                FACTORY NO.                  104893
                RUBYRED GARMENT MANUFACTURING SAE
                4TH IND ZONE,BLOCK 14.PLOT1-2-13-14
                PRIVATE FREE ZONE, BORG AL-ARAB
                ALEXANDRIA
                Egypt
                FTY MID NO.                 EGRUBGAR1213ALE




PAYMENT TERM                  Open Acct
ORDER PAYMENT TERMS
DRAWN UNDER                   OPEN ACCOUNT
LC#                           NO LC



                                                                                                             QUANTITY               QUANTITY
                                                                                                             (CARTONS)        (INVOICE UNITS)
                                                                                                                                                                    AMOUNT (USS)
TOTAL INVOICE                                                                                                       503                   503 ASSORTMENTS             30,048.78 USD

TOTAL US DOLLARS THIRTY THOUSAND FORTY-EIGHT DOLLARS AND SEVENTY-EIGHT CENTS ONLY.


We hereby certify that this shipment does not contain solid wood packing material.
        18-23538-rdd             Doc 626   Filed 11/09/18 Entered 11/09/18 15:37:01                      Main Document
                                                       Pg 25 of 25
                                                  COMMERCIAL INVOICE                                                                  Page 6 of 6
                                                                                                                      DATE: September 02, 2018
                                                                                                              INVOICE NO.: 201821741030
3024                                                        TO:             SEARS ROEBUCKS CO.
RUBYRED GARMENT MANUFACTURING                                               3333 Beverly Road
SAE
4TH INDZN, BLK14, PLOTS 1-2-13-14                                           Hoffman Estates, IL 60179
FREE ZONE, AL AMRYA , BORG AL-ARAB                                          US
ALEXANDRIA

Egypt
23512                                                       SHIPPED FROM: Damietta, Egypt               SHIPPED TO:   Chambersburg , PA
                                                            MODE OF TRANSPORTATION: Ocean

                                                                                                                      FOB Egypt
RUBYRED GARMENT MANUFACTURING SAE

EMPLOYEE NAME
EMPLOYEE TITLE
